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                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION

COMMUNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA, LTD., and
CONSUMER SERVICE ALLIANCE OF TEXAS,

                      Plaintiffs,
v.
                                        Civil Action No. 1:18-cv-295-LY
CONSUMER FINANCIAL PROTECTION
BUREAU and JOHN MICHAEL MULVANEY,

                      Defendants.




            REPLY MEMORANDUM IN SUPPORT OF MOTION
               BY COOPERATIVE BAPTIST FELLOWSHIP
                   TO INTERVENE AS DEFENDANT



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       The Cooperative Baptist Fellowship (CBF) has moved to intervene as a defendant in this

case, in light of its strong interest in the Payday Rule that plaintiffs challenge and the strong

evidence that defendant Consumer Financial Protection Bureau (Bureau) no longer fully supports

its own regulation. Importantly, the Bureau has not opposed CBF’s motion to intervene.

       Plaintiffs oppose the motion, arguing primarily that this case is of no concern to CBF

because the Bureau may moot the need for defense of the Payday Rule through a notice of proposed

rulemaking in February 2019. If plaintiffs were correct, however, that a potential future rulemaking

obviated CBF’s interest, plaintiffs’ purported interest in a preliminary injunction would itself not

exist because, between this month and February, there is nothing to enjoin, since the Rule’s

compliance date is in August 2019. Because plaintiffs seek to litigate now, intervention by CBF is

also warranted now. The Bureau’s mere intention to undertake a rulemaking in the future—an

uncertain process distinct from this litigation—neither creates an exception to Federal Rule of

Civil Procedure 24 nor gives plaintiffs a pass to litigate without adversarial proceedings.

I.     The Court should grant CBF intervention of right.

       A. CBF has protectable interests in this case.

       As explained in CBF’s motion, CBF has two protectable interests in the Payday Rule’s full

and timely implementation. First, plaintiffs’ challenge to the Payday Rule threatens to harm CBF’s

mission, resources, and daily work. In this regard, CBF’s interest is similar to that of the plaintiffs

in OCA-Greater Houston v. Texas, 867 F.3d 604, 610-12 (5th Cir. 2017), which recognized that

an organization had standing to challenge statutory provisions that caused it to spend “additional

time and effort” and “frustrate[d] and complicate[d] its … activities.” There, the organization

“went out of its way to counteract the effect of Texas’s allegedly unlawful voter-interpreter

restriction—not with a view toward litigation, but toward mitigating its real-world impact,” and



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the challenged provisions “perceptibly impaired” the organization’s “ability to ‘get out the vote,’”

including because it had to “spend more time on each [voter education] call” and thus “reach[ed]

fewer people in the same amount of time.” Id. at 610, 612; see also Scott v. Schedler, 771 F.3d

831, 837 (5th Cir. 2014) (organization had standing because it “devoted resources to counteract”

challenged practices). Here, CBF has gone “out of its way” to “counteract the effect[s]” of harmful

lending practices, with “a view toward mitigating [their] real-world impact,” including by

spending “more time on” individual financial education engagements, and these efforts require

resources that it would otherwise have available to reach more people through group financial

education, to help domestic abuse victims, and to develop other ministry initiatives. See Appendix

(Dkt. 45-1) at App. 1-9. That CBF’s interest in its use of resources is also an economic one likewise

supports intervention. See Wal-Mart Stores, Inc. v. Texas Alcoholic Beverages Comm’n, 834 F.3d

562, 567-68 (5th Cir. 2016) (collecting cases). Plaintiffs’ assertions about the effects of a ban on

payday loans, Dkt. 49 at 3-4, whether or not correct, are irrelevant because the Rule does not ban

payday loans; it benefits consumers by restricting certain harmful practices broadly used in the

payday lending industry. See 82 Fed. Reg. 54,472, 54,572-73, 54,587 (Nov. 17, 2017).1

       Second, CBF has an interest in the Payday Rule that stems from its extensive campaign for

the Rule. This “particular interest in cementing [its policy] victory,” City of Houston v. Am. Traffic

Sols., Inc., 668 F.3d 291, 294 (5th Cir. 2012), is also direct, substantial, and analogous to interests

the Fifth Circuit has deemed sufficient to support intervention. In City of Houston, intervenors had

“organized a petition drive, and of course signed petitions” as part of a “political campaign” for a



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         Although OCA and Scott concern standing to bring a case, the Fifth Circuit has “suggested
that ‘a movant who shows standing is deemed to have a sufficiently substantial interest to
intervene.’” Wal-Mart, 834 F.3d at 566 & n.3 (describing intervention as requiring a lesser
showing than standing).

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law. Id. at 292. Here, CBF has pursued a years-long policy campaign involving advocating before

the Bureau and assisting churches’ efforts to do so, including by publishing educational materials

for churches and hiring staff to help pastors and church members engage in their own advocacy

for the Rule. See Appendix (Dkt. 45-1) at App. 3-4. Although plaintiffs would limit City of Houston

to ballot measures, the Fifth Circuit has cited it in granting intervention of right in a case about a

licensing and regulatory scheme. See Wal-Mart, 834 F.3d at 565, 567; see also W. Energy All. v.

Zinke, 877 F.3d 1157, 1165 (10th Cir. 2017) (intervention supported by movants’ “interest in

preserving” a federal policy “they spent years negotiating and litigating”).

       Plaintiffs also argue that CBF has no protectable interest because the Bureau may repeal

the Rule. The Bureau, however, has stated only that it plans to release a proposal, with an unknown

scope, early next year. See Joint Status Rpt. (Dkt. 38). Denying intervention where a proper

showing is otherwise made on the ground that the agency might change the challenged rule in the

future would lead to a nonsensical narrowing of Federal Rule 24. Further, if such an announcement

rendered CBF’s interests hypothetical and speculative, it would have the same effect on plaintiffs’

interests, putting their own standing into question. Moreover, because the Bureau will not complete

its reconsideration before the August 2019 compliance date, see Resp. in Supp. of Pls.’ Mot. for

Recons. (Dkt. 34) at 1, CBF, like plaintiffs, has a current concrete interest in the Payday Rule and

the outcome of this case.

       B. This action may impair or impede CBF’s interests.

       Plaintiffs do not contest that “disposing of [this] action may as a practical matter impair or

impede [CBF’s] ability to protect its interest[s].” Fed. R. Civ. P. 24(a)(2). Instead, they suggest

CBF should let the existing parties proceed alone on the proposed preliminary injunction motion,

and later ask the Court to reconsider any unfavorable decision. Dkt. 49 at 8-9. Rule 24 does not



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support such an approach. Indeed, if CBF took plaintiffs’ suggestion, its delay would weigh against

its request to intervene. Cf. Wal-Mart, 834 F.3d at 565 (finding intervention timely when

intervenor “did not seek to … reconsider phases of the litigation that had already concluded”).

       Further, because all of plaintiffs’ claims and the case as a whole implicate CBF’s interests,

early participation is warranted. Cf. Entergy Gulf States La., LLC v. U.S. EPA, 817 F.3d 198, 204-

05 (5th Cir. 2016) (rejecting argument that “matters of stay and bifurcation concern mere litigation

tactics … and do not warrant intervention”).

       C. Defendants do not adequately represent CBF’s interests.

       CBF has far exceeded its “minimal” burden to show that the Bureau “may” not represent

its interests. Id. at 203. The Bureau has argued in favor of a court-ordered stay of the Payday

Rule—relief similar to the preliminary injunction plaintiffs now seek—and in so arguing, asserted

that plaintiffs have a substantial case on the merits of their claims challenging the Rule. See Resp.

in Supp. of Pls.’ Mot. for Recons. (Dkt. 34) at 9-15.

       Plaintiffs suggest that a “presumption” of adequate representation applies. Dkt. 49 at 7. As

the Fifth Circuit has stated, “this presumption … is restricted, however, to those suits involving

matters of sovereign interest.” Entergy, 817 F.3d at 203 n.2 (emphasis and citation omitted). It

does not apply “in other cases where a governmental agency is a party.” Id. In addition, the record

of the adversity of interest between CBF and the Bureau in this case would strongly rebut any

applicable presumption. See Texas v. United States, 805 F.3d 653, 662 (5th Cir. 2015). Indeed,

plaintiffs themselves concede that “the government may not defend” the Rule. Dkt. 49 at 10.2



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         CBF’s showing establishes standing—a point with significance if defendants do not seek
the same ultimate relief as CBF. See Ruiz v. Estelle, 161 F.3d 814, 830 (5th Cir. 1998) (intervenors
do not need standing when “the ultimate relief sought by the intervenors is also being sought by at
least one subsisting party with standing to do so”). At this time, defendants have not responded to


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II.    In the alternative, the Court should grant CBF permissive intervention.

       As to permissive intervention, CBF’s interest in defending the Payday Rule is “a claim or

defense that shares with the main action a common question of law or fact.” Fed. R. Civ. P.

24(b)(1)(B). Although plaintiffs contend that this prong is not met here, the requirement receives

a “liberal construction.” Stallworth v. Monsanto Co., 558 F.2d 257, 269 (5th Cir. 1977). “[T]he

words claim or defense in permissive intervention are not to be read in a technical sense, but only

require some interest on the part of the applicant.” Louis Berger Grp., Inc. v. State Bank of India,

802 F. Supp. 2d 482, 488 (S.D.N.Y. 2011) (brackets omitted).

       Plaintiffs’ primary objection—that CBF’s participation as an intervenor will delay or

prejudice the adjudication—is disingenuous. Plaintiffs’ theory is that because the Bureau may not

defend the suit or may moot it out, CBF’s participation may force plaintiffs to actually litigate the

case that they themselves have filed. If plaintiffs did not want a “full adjudication,” Dkt. 49 at 10,

they should not have filed suit. Yet they did file suit and have now asked the Court to lift the

litigation stay. See Dkt. 40. In active litigation over a federal rule, the existence of advocates on

both sides is crucial to the full and fair adversarial process plaintiffs invoked by filing a lawsuit.

       Moreover, participating as amicus will not substitute, as CBF anticipates that the ability to

address procedural matters, participate in hearings, and otherwise act as a party will be important

to protecting its interests and the federal regulation that, otherwise, may well go undefended.

                                          CONCLUSION

       For the foregoing reasons, the Court should grant CBF’s motion to intervene.


the complaint and have asked that they not be required to do so, see Dkt. 40 at 2 (stating defendants’
position), and thus have not identified what outcome they might seek. Intervention, however, is
warranted here for the reasons explained in CBF’s motion, even if defendants were to seek
dismissal. See Texas, 805 F.3d at 663 (intervenors satisfied “inadequate representation”
requirement, although both intervenors and government sought to uphold the challenged policy).

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Dated: October 1, 2018                     Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on October 1, 2018, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send notification of such filing to counsel for all

parties.

                                                                 /s/ Rebecca Smullin
                                                                 Rebecca Smullin




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